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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
UNITED STATES OF AMERICA

                                                                              SCHEDULING ORDER

                 -against-                                                    19 Cr. 856 (KMK)

MA YOBANEX REYES,

                                             Defendant.
-------------------------------------------------------------x
        The Court has scheduled a guilty plea for November 10th, 2020 at 4:00 p.m. before

Magistrate Judge Andrew E. Krause in Courtroom 521. Per the SDNY COVID-19 Courthouse

Entry Program, anyone who appears at any SDNY courthouse must complete a questionnaire and

have their temperature taken. Please see the attached instructions. Completing the questionnaire

ahead of time will save time and effort upon entry. Only those individuals who meet the entry

requirements established for the courthouse will be permitted entry. Please contact Chambers at

914-390-4070 if you do not meet the requirements.

Dated: November 6, 2020
       White Plains, New York

                                                                 SO ORDERED:




                                                                 ANDREW E. KRAUSE
                                                                 United States Magistrate Judge
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                                 ATTENTION:
     ALL ENTERING THE COURTHOUSE
            Instructions for Entering the Courthouse




                               https://app.certify.me/SDNYPublic


Step 1:
Scan this QR code on your phone or visit the website listed to begin the registration process.
**To scan, use your phone camera and click the subsequent link that appears.

Step 2:
Fill out the form that appears. Be sure to use a mobile phone number.

Step 3;
Complete the Questionnaire. If you answer "yes" to any of these questions, you are denied entry
into any SDNY courthouse at this time, per Standing Order 20 Misc. 138. If you have
accidentally answered "yes" to a question instead of"no," please call (212) 805-0500 to receive
another questionnaire.

Step 4:
Use your QR code, sent via text message, to scan in and enter the Courthouse. Proceed to the
scanner, scan your QR code, and have your temperature taken via the thermal scanner. If the
temperature reading is within the normal range, you may proceed into the Courthouse. If your
temperature exceeds the normal range, you are denied entry into any SDNY courthouse at this
time, per Standing Order 20 Misc. 138. The QR code will be needed each time you enter the
Courthouse throughout the day. The code expires at the end of the day.

**If you have any questions, please call (212) 805-0500
